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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                           Case No. 1:04:CR:87

JAMES DAVID DARLAND and                                      HON. GORDON J. QUIST
CLODELLA ANN DARLAND,

            Defendants.
_____________________________/

                                             ORDER

       James Darland and Clodella Darland, husband and wife, have been indicted by the United

States for conspiracy to defraud the United States, attempt to evade or defeat tax and failure to

appear. These defendants have now filed a “Notice Of This Claim Of This Interlocutory Appeal

Under The U.S.C. 28, Section 1292(a)(3).” The body of this so-called Notice is a mishmash of

phrases referring to “mandatory-bond-call,” “Fraud with the Claim of the Jurisdiction,” “Claim of

the seal of the document-treaty of the Unity-State of our World -Corporation,” complaints regarding,

apparently, claims that the defendants may have mental defects or disabilities, etc. There are also

certain references to copyrights and warehouses. Defendants are currently undergoing psychiatric

tests. See Docket No. 173. 28 U.S.C. § 1292(a)(3) refers to interlocutory appeals from admiralty

cases in which appeals from final decrees are allowed. It is not applicable to this criminal case.

       Therefore, the “Notice Of This Claim Of This Interlocutory Appeal Under The U.S.C. 28,

Section 1292(a)(3)” (docket no. 177) is hereby DENIED.



Dated: May 3, 2005                                          /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
